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FoR THE wEsTERN D:csTRICT oF TENNESSEE 05 JUL "8 FH \+= 03

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ERICSON GROUP, INc. , .W GF`z":"\!. ?r.*.EMPHS
Plaintiff,
vs. No. 04-2033 MlV

MARDI GRAS ZONE, LLC,

Defendant.

 

MARDI GRAS ZONE, LLC,
Plaintiff,

vs.

ERICSON GROUP, INC.,

Defendant.

 

ORDER GRANTING PLAINTIFF'S MOTION TO COMPEL

 

Before the court is the June 15, 2005 motion of the plaintiff,
Ericson Group, Inc. (“Ericson"), to compel the defendant, Mardi
Gras Zone, LLC (“Mardi Gras"), to respond to Request for Production
No. 5 that was included in Ericson’s discovery requests that were
sent to Mardi Gras on March 28, 2005. This nmtion has been
referred to the United States Magistrate Judge for determination.

For the following reasons.r the motion is granted.

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BACKGROUND

These consolidated suits arise out of a purchase contract
agreement between Ericson and Mardi Gras for the purchase and
delivery of a fixed amount of custom made Mardi Gras style beads.
Ericson’s suit is based upon the allegations that it lost an
exclusive contract with several of Harrah's Entertainment
Corporation properties and other Harrah’s properties severely
curtailed their business with Ericson because the products it
purchased from Mardi Gras and later sold to Harrah's were
defective. Mardi Gras is suing Ericson on an open account for the
beads it delivered to Ericson for which it claims Ericson has
failed to pay.

These two suits were consolidated by order of the court on
December 8, 2004. The present motion involves a discovery dispute
between the parties.

CONTENTIONS OF THE PARTIES

 

On March 28, 2005. Ericson sent its third request for
production of documents to Mardi Gras. Request No. 5 stated as
follows:

REQUEST FOR PRODUCTION NO. 5: Please produce a copy of

all documents dealing with Mardi Gras Zone, Inc.’s

(“MGZ") purchase of the beads from their overseas

supplier including but not limited to:

a. Quote(s) from MGZ's overseas Factory;
b. Purchase order(s) from MGZ to overseas Factory;

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c. Change order(s) from MGZ to overseas Factory;

d. Production order(s) from MGZ to overseas Factory;

e. Shipping documents for each bead shipment from
overseas Factory;

f. Invoice(s) from overseas Factory to MGZ;
g. All invoices dealing with “Bead Mold” charges,
designs, and design changes;
h. All memos, faxes, emails, notes, etc. dealing with
MGZ's purchase of the beads from their overseas
supplier(s).

Mardi Gras did not respond to this request. Laterl on May 2, 2005.
Mardi Gras objected to the request on the grounds that these
records were not relevant to the issues present in the case.

Subsequent to Mardi Gras's objection, a conversation took
place between counsel for the parties. During that conversation,
Mardi Gras clarified that it was no longer suing Ericson in regard
to any of the undelivered beads. Ericson concedes that it agreed
at that time that the documents sought in Request No. 5 need not be
produced.

In light of more recent discussions with Mardi Gras, however,
Ericson now contends that the documents should be produced.
According to Ericson, it learned during meetings held in June of
2005 that Mardi Gras intended to argue that the beads it delivered
to Ericson were not defective and were standard within the
industry. Ericson believes that there is a “possibility that there

might be information within the communications between Mardi Gras

Zone and the Chinese factory” that would disprove Mardi Gras'

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assertion that the beads were not defective. (Pla.'s Motion to
Compel at 2.)

As support for its contention that the information requested
is relevant, Ericson alleges that it learned through email
correspondence with Mardi Gras' counsel that the overseas factory
had agreed not to charge Mardi Gras for some of the beads it had
sold to Mardi Gras. Ericson maintains that this information
conflicts with Mardi Gras' position that the beads were not
defective and raises doubts as to whether the beads it received
from Mardi Gras were in proper form.

Mardi Gras' objection to the request at issue is as follows:

RESPONSE: Mardi Gras Zone objects to the production of

documents requested on the ground that Mardi Gras Zone is

suing Ericson Group on an open account based on a

contractual relationship at a price that was quoted and

agreed upon by the parties. The documents requested are
irrelevant and will not lead to the discovery of
admissible evidence as the prices paid by “MGZ to the
overseas factory” are neither admissible in connection

with the plaintiff's claims on an open account nor in

connection with any defense of Ericson Group. This

objection applies to all the items requested in
subparagraphs a, b, c, d, e, f and h. With respect to
subparagraph g, Mardi Gras has no invoices.

Mardi Gras contends that discovery that has taken place thus
far shows without a doubt that contrary to Ericson's claims that
Harrah's terminated the existing contract between the two

corporations, Ericson voluntarily terminated its contract with

Harrah’s at the end of February 2004 in a letter dated January 19,

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2004. (Def.’s Resp. in Opposition to Pla.'s Motion to Compel, Ex.
A.) In this letter, Ericson does not mention that the alleged
defective beads it purchased from Mardi Gras and then re-sold to
Harrah’s was the reason for its termination of the contract. Mardi
Gras claims that Ericson's voluntary termination of its contract
with.Harrah’s demonstrates definitively that Ericson's requests for
documents that at are issue in this motion are irrelevant.

Mardi Gras further contends that the documents sought by
Ericson are not relevant to any of the claims made by either party
in this case and that Ericson has made no showing that the
documents are relevant. Mardi Gras claims that the only issues
relevant in this case are the parties' terms of purchase, the
payments made by the parties, and the credits given. Thus,
according to Mardi Gras, the terms of its purchase of the beads
from its supplier are irrelevant.

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Rule 26 of the Federal Rules of Civil Procedure states that
“[p]arties may obtain discovery regarding any matter, not
privileged, that is relevant to the claim or defense of any party
. . . .” Fed. R. Civ. P. 26(b)(1). Relevancy for discovery
purposes is extremely broad. The information sought need not be
admissible in court in order to be relevant. Rather, the relevancy

burden is met if the party can show that the information sought

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“appears reasonably calculated to lead to the discovery of
admissible evidence.” FED. R. CIV. P. 26(b)(1). Nevertheless,
discovery does have “‘ultimate and necessary boundaries,'”
Qppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)
(quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947)), and “‘it is
well established that the scope of discovery is within the sound
discretion of the trial court.'” Coleman v. American Red Cross, 23
F.3d 1091, 1096 (6th Cir. 1994) (quoting United States v. Guy, 978
F.2d 934, 938 (6th Cir. 1992)).

In order for Ericson to prevail on its claim that Mardi Gras'
products caused Harrah's to refuse to do further business with
Ericson, Ericson must rebut Mardi Gras' allegations that the beads
were not defective. Mardi Gras does not deny that it intends to
argue that the beads sold to Ericson were not defective. Thus,
Ericson is entitled to any discovery which may show that the beads
were in fact defective. Correspondence between counsel for the
parties suggests that the overseas manufacturer did not receive
compensation for some of the beads it delivered to Mardi Gras.
This certainly raises a suspicion that there may have been
something wrong with the beads. Furthe:l:'morel Mardi Gras has
provided no explanation for why the overseas factory did not charge
it for a portion of the beads.

Therefore, the court finds that Ericson should be entitled to

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discovery of the records set forth in Request No. 5 as the
information sought appears reasonably calculated to lead to the
discovery of admissible evidence. Any fear that Mardi Gras may
have that Ericson will use the information to deal directly with
the overseas manufacturer is unsubstantiated. in light of the
protective order in place in this case that makes any documents,
answers to interrogatories, testimony, and other responses that
contain trade secrets or other confidential research, development,
or commercial information off limits to the parties and only
visible by officers of the court and attorneys for the parties.
CONCLUSION

Accordingly, Mardi Gras is ordered to produce documents in
response to Ericson’s Request for Production No. 5 within eleven
(11) days from the date of this order. Mardi Gras is also directed
to comply with the protective order in order to nmintain the
confidentiality' of the documents that it has been ordered to
produce.

IT IS SO ORDERED this Sth day of July, 2005.

AMK<@W

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

       

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Honorable J on McCalla
US DISTRICT COURT

